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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA

 ALEX A., by and through his guardian, )
 Molly Smith; BRIAN B.; and CHARLES C., )
 by and through his guardian, Kenione )
 Rogers, individually and on behalf of all )
 others similarly situated.                )

          Plaintiffs,                                   )
                                                        )
 v.                                                     )    Civ. A. No. 3:22-CV-00573-SDD-RLB
                                                        )
 GOVERNOR JOHN BEL EDWARDS, in                          )
 his official capacity as Governor of                   )    MEMORANDUM IN SUPPORT OF
 Louisiana; WILLIAM SOMMERS, in his                     )    MOTION TO STRIKE PATRICK
 official capacity as Deputy Secretary of the           )    MCCARTHY, PH.D. AS AN EXPERT
 Office of Juvenile Justice, JAMES M.                   )    WITNESS
 LEBLANC, in his official capacity as                   )
 Secretary of the Louisiana Department of               )
 Public Safety & Corrections,                           )
                                                        )
                                                        )
          Defendants.                                   )

        NOW INTO COURT, through undersigned counsel, come Defendants John Bel Edwards,

in his official capacity as Governor of Louisiana; Otha “Curtis” Nelson,1 in his official capacity as

Deputy Secretary of the Office of Juvenile Justice (“OJJ”); and James M. LeBlanc, in his official

capacity as Secretary of the Louisiana Department of Public Safety & Corrections (collectively

“Defendants”), who hereby move to strike Patrick McCarthy, Ph.D. as an expert witness.

                                       FACTUAL BACKGROUND

        Plaintiffs filed a Motion for Preliminary Injunction (Doc. 163) on July 17, 2023, alleging

unlawful conditions of confinement and violations of the U.S. Constitution at the Bridge City




1 On November 18, 2022, Governor Edwards announced the resignation of Deputy Secretary Sommers and the
appointment of Otha “Curtis” Nelson as his replacement, https://gov.louisiana.gov/index.cfm/newsroom/detail/3892 .
Because Sommers was sued in his official capacity, Nelson is automatically substituted as a Defendant. Fed. R. Civ.
P. 25(d).

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Center for Youth at West Feliciana (“BCCY-WF”). Plaintiffs attached declarations of three expert

witnesses to the motion. On July 28, 2023, Plaintiffs submitted a may call witness list which listed

McCarthy as an expert witness. Pursuant to an agreed upon schedule (as directed by the Court),

Defendants produced documents on July 31, 2023. Defendants supplemented the production on

August 2, August 4, and August 8, 2023.

        The discussions leading up to deposing McCarthy are important. On August 4, 2023,

undersigned noted that McCarthy wanted to tour BCCY-WF on August 8. (Exhibit A, p. I)2

Counsel insisted at that time that McCarthy provide a detailed description of the nature and the

scope of his testimony, and that counsel would not accommodate the site visit without such a

description. At a meet and confer on August 5, undersigned relented upon an agreement that

Plaintiffs would provide a statement of McCarthy’s opinions. The August 5, 2023 email from

plaintiffs’ counsel provides the most generic, non-specific disclosure possible as to McCarthy.

(Ex. A, p. 2) Due to the pressing time and in an effort to continue to cooperate, on August 7, 2023,

undersigned agreed that McCarthy could tour BCCY-WF on August 8. (Ex. A, p. 3) McCarthy

“experienced issues with his flight” and did not tour BCCY-WF on August 8 as offered. (Ex. A,

p. 4) After learning that McCarthy would not tour the facility on August 8, undersigned sent an

email asking when McCarthy would provide a report. (Ex. A, p. 5) Then, after agreeing to take

McCarthy’s deposition without an expert report, on August 8, 2023, undersigned sent an email

which stated:

         To be clear, we expect Mr. McCarthy to be able to provide his primary opinions at
         the deposition tomorrow. We trust that he will be prepared to do so and are
         proceeding with the deposition on that basis.

(Ex. A, p. 6)



2 Exhibit A is a group of six emails referred to en globo.

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         On August 9, 2023, Defendants deposed McCarthy. (Exhibit B) McCarthy visited BCCY-

WF on August 11,2023. The visit lasted approximately one hour. Then, on Monday, August 14,

2023. McCarthy submitted his expert report. (Exhibit C) The discrepancy between the deposition

transcript and the expert report are inexcusable and requires him to be struck as an expert witness.

                                             ARGUMENT

         Rule 26(b)(4)(B) of the Federal Rules of Civil Procedure provides that expert witnesses

must provide draft reports or disclosures. Prior to taking the deposition of McCarthy, Defendants

repeatedly requested that Plaintiffs disclose the scope of his opinion. Plaintiffs’ disclosure was

less than helpful. Because of the impending deadlines, Defendants took McCarthy’s deposition

on August 9, 2023, without an expert report. The expectation was that he would be prepared to

testify to his opinions in this case.

         Early in the deposition, McCarthy testified to his opinions in this case. (Ex. B, pp. 15-16)

He ultimately testified that he had no opinions as to the following:

    •    Social services at BCCY-WF (other than the question of family contact) (Ex. B, p. 41)

    •    As to Sandra Bryant, BCCY-WF’s social services coordinator, he did not have enough
         information to form an opinion about her competency as a social services provider (Ex. B,
         P-41)

    •    Education services (Ex. B. p. 69)

    •    Climate or heat (Ex. B. p. 72)

         Then, in McCarthy’s expert report dated August 11,2023, McCarthy offered the following

opinions directly contrary to the opinions expressed at his deposition:

     •    Social services at BCCY-WF are deficient (Ex. C, p. 16)

     •    Bryant lacks the training and is inadequate as she is not a trained counselor. (Ex. C, p. 16)

     •    BCCY-WF does not meet the minimally acceptable standards for educational services Ex.
          C, p. 18)

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   •   Climate or heat, referred to as environment safety, exposes place youth to serious and
       potentially irreparable harm, including illness and death. (Ex. C, p. 4)

        Comparison of McCarthy’s deposition and McCarthy’s report clearly shows that he failed

to disclose basic opinions at his deposition. This failure cannot be justified. The documents that

he needed to have reviewed had been produced primarily on July 31, 2023. Further, there is

nothing in the one-hour site visit that can possibly justify such a stark change in his opinions. For

instance, he observed no counseling by Bryant. As to education, he walked into the classroom for

literally a couple of minutes, observed youth at desk with computers, and then left. He experienced

the same air conditioning that Dr. Vassallo found was below the threshold for concern.

        The record clearly shows that McCarthy failed to provide his primary opinions at his

deposition on August 9, 2023. Indeed, to the contrary, he provided opinions which he thereafter

contradicted.

                                         CONCLUSION

        This combination of failure to disclose and outright contradiction between opinions

disclosed in his deposition and opinions stated in his report requires that McCarthy be struck as

an expert witness. Alternatively, his opinion should be limited to those stated at his deposition.

       Dated: August 14, 2023

                                              Respectfully submitted,

                                              BY:     /s/ Madaline King Rabalais
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                                                      official capacity as Deputy Secretary of the
                                                      Office of Juvenile Justice; and JAMES M.
                                                      LEBLANC, in his official capacity as
                                                      Secretary of the Louisiana Department of
                                                      Public Safety & Corrections


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has this day been filed electronically
with the Clerk of Court using the CM/ECF system, which will deliver notice of this filing to all
counsel of record.

        Baton Rouge, Louisiana this 14th day of August, 2023.


                                                      /s/ Madaline King Rabalais
                                                       Madaline King Rabalais
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